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     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     OMAR VERA
6
7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 13-53 MCE
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO NOVEMBER 17,
12           v.                                     )   2016, AT 10:00 A.M.
                                                    )
13   OMAR VERA,                                     )   Date: October 20, 2016
                                                    )   Time: 10:00 a.m.
14                              Defendant.          )   Judge: Hon. Morrison C. England, Jr.
                                                    )
15                                                  )
16
17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for October 20, 2016, at 10:00 a.m., to November 17, 2016, at 10:00 a.m.
19             Defense counsel requires the continuance to consult with his client about discovery and a
20   proposed plea agreement, and to negotiate further with the government.
21             Counsel and the defendant agree that the Court should exclude the time from the date of
22   this order through November 17, 2016, when it computes the time within which trial must
23   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
24   ///
25   ///
26   ///
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      Stipulation to Continue                           -1-                                       13-53 MCE
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1              Counsel and the defendant also agree that the ends of justice served by the Court granting
2    this continuance outweigh the best interests of the public and the defendant in a speedy trial.
3    DATED: October 19, 2016                         HEATHER E. WILLIAMS
                                                     Federal Defender
4
5                                                    /s/ M.Petrik__________
                                                     MICHAEL PETRIK, Jr.
6                                                    Assistant Federal Defender
                                                     Attorneys for Mr. Vera
7
8    DATED: October 19, 2016                         PHILLIP A. TALBERT
9                                                    Acting United States Attorney

10                                                   /s/ M.Petrik for_______
                                                     JASON HITT
11                                                   Assistant U.S. Attorney
12                                                 ORDER
13             The Court, having received, read, and considered the stipulation of the parties, and good
14   cause appearing, adopts the stipulation in its entirety as its order. It specifically finds that the
15   failure to grant a continuance in this case would deny defense counsel reasonable time necessary
16   for effective preparation, taking into account the exercise of due diligence. The Court further
17   finds that the ends of justice served by granting the continuance outweigh the best interests of the
18   public and defendant in a speedy trial.
19             The Court orders the status conference rescheduled for November 17, 2016, at 10:00 a.m.
20   The Court orders the time from the date of this order, up to and including November 17, 2016,
21   excluded from computation of time within which the trial of this case must commence under the
22   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
23             IT IS SO ORDERED.
24   Dated: November 1, 2016
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      Stipulation to Continue                          -2-                                          13-53 MCE
